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          EXHIBIT A
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STATE OF MINNESOTA                                                   DISTRICT COURT

COUNTY OF'RAMSEY                                       SECOND JUDICIAL DISTRICT


Travis Widn.er,                                        Court File No.:

             Plaintiff,
                                                       SUMMONS
vs.


Walmart Inc. d/b/a Walmart and
Wal-Mart Realty Company,

             Defendants.


THIS SUMMONS IS DIRECTED TO .Walmart Inc. d/b/a Walmart and Wal-Mart Realty
Company:

       1.     YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you.
The Plaintiff's Complaint against you is attached to this Sumrnons. Do not throw these
papers away. They are official papers that affect your rights. You must respond to this
lawsuit even though it may not yet be filed with the Court, and there may be no court tile
number on this Summons.

       2.    YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS.
You must give or mail to the person who signed this Summons a written response called
an Answer within 2.1 days of the date on which you received this Summons. You must
send a copy of your Answer to the person who signed this Summons located at:

       Patrick W. Michenfelder, Esq.
       Chad A. Thron.d.set, Esq.
       Throndset Michenfelder Law Office, LLC
       One Central Avenue West, Suite 101
       St. Michael, MN 55376

       3.     YOU.MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiff's Complaint. In your Answer you must state whether you agree
or disagree with each paragraph of the Complaint. If you believe the Plaintiff should not
be given everything asked for in the Complaint, you must say so in your Answer.
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       4.      YOU WILL LOSE YOUR.CASE IF YOU DO NOT SEND A WRITTEN'
RESPONSE TO 711-1E COMPLAINT TO 7FHE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 21 days, you will lose this case. 'You will not
get to tell your side of the story, and the Court may decide against you and award the
Plaintiff everything asked for in the Complaint. If you do not want to contest the claims
stated in the Complaint, you do not need to respond. A default judgment can then be
entered against you for the relief requested in the Complaint.

      5..     LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If
you do not have a lawyer the Court Administrator may have information about places
where you can ea legal assistance. 'Even if you cannot get legal help, you must still
provide a written Answer to protect your rights or you may lose the case.

       6.    ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or
be ordered to participate in an alternative dispute resolution process under Rule 114 of
the Minnesota General Rules of Practice. You must still send. your written response to
this Complaint even if you expect to use alternative means of resolving this dispute.


                                         THRONDSET MICH.ENFELDER,I,LC



Dated: September dy?-., 2020             By:
                                           Chad A. Throndse 40261 191)
                                          Patrick W.IVIichen felder (g024207X)
                                         Cornerstone Building
                                         One Central Avenue W., Suite 101
                                         St. Michael, MN 55376
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                                         Attorneysfor Plaintiff




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STATE OF MINNESOTA                                                      DISTRICT COURT

COUNTY OF RAMSEY                                          SECOND JUDICIAL DISTRICT


Tfravis Widner,
                                                         'Court File No.:

              Plaintiff,                                 COMPLAINT
VS.




'Walmart Inc. d/b/a .Walmart and
 Wal-Mart Realty Company,

              Defendants.


       Plaintiff, by and through his undersigned counsel, bring this action against Walmart

Inc. d/b/a Walmart and Wal-Mart Realty Company, for violations of the Americans With

Disabilities Act,42 U.S.C. § 12181, et seq.(the "ADA")and its implementing regulations,

and allege as follows:

                                    INTRODUCTION

        1.    This case concerns Defendants' federal statutory obligation to ensure their

facility becomes, and remains, compliant with the ADA. Accordingly, Plaintiff seeks: I)

remediation of the unlawful architectural barriers described below; and 2) modification of

Defendants' ADA related policies, procedures, and practices in order to ensure that the

facility remains ADA compliant. Plaintiff also seeks a nominal monetary award, his

reasonable attorneys' fees, litigation expenses, and costs, and such other relief as is deemed

just and proper, and/or is allowable under Title III of the ADA.

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       2.     The ADA., enacted in 1990, is the central civil rights law protecting people

with disabilities, a group of Americans who are too often overlooked and undervalued. The

ADA uses different means than other civil rights laws, but the purpose of the laws is the

same: the eradication of discrimination. As one legal scholar explained: A single step in.

front of a store may not immediately call to mind images of Lester Maddox standing in the

door of his restaurant to keep blacks out. But in a crucial respect they are the same, for a

step can exclude a person who uses a wheelchair just as surely as a no-blacks-allowed rule

can exclude a class of people. Samuel Bagenstos, The Perversity ofLimited Civil Rights

Remedies: The Case of"Abusive" ADA Litigation, 54 UCLA L. Rev. 1., 23 (2006).

       3.     Though disability rights laws are supposed to prevent the continued isolation

and segregation of people with disabilities in. the same tradition as other civil rights laws,

some appear to regard disability rights requirements — particularly those involving physical.

access requirements, such as ramps and hand rails — as different, and less important, than

other civil rights. The Case of "Abusive" ADA Litigation, supra: at 24. Some also appear

to assume that ADA cases are abusive or unnecessary drains on courts; but private

enforcement is central to accomplishment of the ADA's rightful purposes and, as has been

demonstrated repeatedly, compliance does not happen without the credible threat ofprivate

enforcement. Id. at 9.

       4.     Title Ill of the AD.A prohibits discrimination by places of "public

accommodation," as that term is defined by 42 U.S.C. §1.2181 (7). It requires places of
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public accommodation to be readily accessible to, an independently usable by, individuals

with disabilities. 42 U.S.C. § 12182.

         5.   tinder 28 C.F.R. § 36.201 (b) both the landlord who owns a building that

houses a place of public accommodation. and .the tenant who owns or operates a place of

public accommodation subject to the requirements of the ADA.

      6.      Violation of the A.DA's standards of accessible design are actionable

violations of the act. See e.g., Oliver v. .Ralphs Grocery Co., 654 F.3d 903, 905 (9th Ci.r.

2011).

         7.   Plaintiff seeks a permanent injunction, pursuant to 42 U.S.C. § 12188(a)(2)

and 28 C.F.R. § 36.504(a) directing Defendants to make readily achievable alterations to

their facility so as to remove architectural barriers to access and make their facility fully

accessible to and independently usable by individuals with disabilities in accordance with

the requirements of the ADA.

         8.   In addition. to remediation ofthe architectural barriers above, injunctive relief

as to Defendants' ADA related policies, 'procedures and practices is required to ensure

Defendants' facility remains ADA compliant under 42 U.S.C. § 12188(a)(2)and 28 C.F.R.

§ 36.211 and 36.501.

         9.   The violations i.n this case are clear and correcting them would involve only

minimal expense -- yet Defendants have failed to identify and correct the violations even

though the ADA was enacted 28 years ago. This speaks clearly to the inadequacy of




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Defendants' ADA related policies, procedures and practices and underscores the

importance of this portion of Plaintiffs' claim.

       10.    Without adequate policies, practices and procedures in place, there is no

assurance that the accessible features in the facility will remain operable and compliant,

and no assurance that Defendants will stay abreast of their ADA related obligations under

the law.

       1 1.   Plaintiff also seeks a nominal monetary award in accordance with authority

including Tayler Bayer v. Neiman Marcus Group, Inc., No. 15-15287 (9111 Cir. 20.1.7) and

his reasonable attorneys' fees, litigation expenses, and costs of suit pursuant to 42 U.S.C.

§ 12205, 28 C.F.R. § 36.505 and such other relief as is deemed just and proper, and/or is

allowable under Title IH of the ADA.

       1 2.   Despite passage ofthe ADA more than 25 -years no,to this date, Defendants'

property is not fully accessible to, and independently usable by, persons with disabilities.

Defendants have failed to remove architectural barriers and take the actions clearly

required of it by the ADA, even though such actions are readily achievable. Defendants'

conduct constitutes an ongoing and continuous violation of the law.

                             JURISDICTION AND VENUE

       1 3.   Jurisdiction of this Court arises under Title Iii of the Americans with

Disabilities Act (the ADA), 42 U.S.C. §§ 12181-12189, which provides for concurrent

state and federal court jurisdiction. Federal jurisdiction arises under 28     §§ 1331 and

1343(a)(3) because th.is action includes federal. law claims brought pursuant to Title III of

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the ADA. The Court also has jurisdiction to issue a declaratory .judgment pursuant to 28

       § 2201 and Fed R.. Civ. P. 57 and/or Minn. Stat. § 555.01 et. seq. and Minn. R. Civ.

Pro. 57.

       14.     Venue in this judicial district is proper because'Defendants are located in and

transact business within this judicial district and have sufficient contacts to he subject to

personal jurisdiction in this judicial district, and because this is the judicial district in which

the acts and omissions giving rise to the claims occurred.

                                           PAIRTI.ES

       1 5.    Plaintiff Travis Widner ("Widner") is a below-the-knee amputee as a result

of a severe automobile accident he was involved in 2017. He has a fused pelvis and partial

paralysis in his remaining foot due to nerve damage from the accident. Because he has a

skin graft at the site of his amputation,the use of his prosthesis can cause extreme irritation

on his residual limb. Widner is dependent upon, and alternates between, the use of a

prosthesis, crutches, a walker, a knee scooter and a wheelchair depending on how he is

feeling. Mr. -Widner suffers from, and all times relevant hereto has suffered from, a legal

disability as defined by the ADA,42 U.S.C. § 12102(2). He is therefore a member of the

protected class under the ADA and the regulations implementing the ADA set forth at 28

       § 36.101 et. seq.

       16.     Mr. Widner has an acute understanding of the discrimination people with

disabilities regularly encounter when businesses ignore the ADA - and the humiliation,

embarrassment, stigma, physical discomfort, stress, strain, fatigue and isolation from

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friends and family that results. Mr. Widner is also well-a.ware of the benefits for the

disabled when responsible business owners take the ADA's requirements seriously. Mr.

Widner is very much committed to doing all that he can to help himself, and other disabled

people, by pursuing a cause - holding 'businesses accountable for. ignoring the ADA - that

others may turn away from.

       17.     Travis Widner, age 39, resides in Minnesota.          He regularly frequents

businesses in the Twin Cities Metropolitan and surrounding area (Area) including

restaurants, convenience stores, general stores, grocery stores and other businesses - and

has done so for years and years. The ability to independently patronize businesses in the

Area is important to Mr. Widner and his quality of life; it enables him to obtain necessary

good.s and services and allows him to interact with the community, which is a critical social

outlet for him.

       1.8.   Compliance with Title III is critical for the disabled community. if, for

example, a toilet is not accessible with adequate maneuvering space, grab bars, etc. the

disabled either cannot toilet, or cannot do so without assistance. Disabled individuals have

been forced to urinate and defecate on themselves because a place of public

accommodation did not have an accessible toilet. Similarly, .without a properly striped

parking lot including accessible parking and an accompanying access isle, disabled

individuals Ike the threat that another may park so close to .the vehicle he or She is

travelling in that he or she will be unable to access that vehicle until the car parked beside

it is moved, or without excessive struggle and risk of injury. Improper slopes at parking

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spaces and access aisles can result in a wheelchair rolling away from. a disabled individual

while transitioning from their vehicle and cause risk of injury. Improper slopes along

access routes and sidewalks can make access difficult, taxing, cause physical discomfort,

and puts the disabled individual at risk for injury. And without an accessible entrance,

disabled individuals are excluded from independent access to the premises entirely.

       19.    Defendant Walmart inc. d/b/a Walmart ("Walmart") owns and/ or operates

Walmart and/or is the lessee of the real property upon which it is located at 850 County

Road E, Vadnais Heights, MN, a place of public accommodation within the meaning of

the ADA..

       20.    Defendant 'Wal-Mart Realty Company owns and/or is the lessor of the real

property upon which Walmart is located; a place of public accommodation within the

meaning of the ADA.

                           ARCHITECTURAL BARRIERS

       21.    Within the applicable limitations period, Mr. Widner patronized. Walmart,

encountered and was subjected to discriminatory barriers which hindered his ability to

patronize the business, including, but not necessarily limited to, the following:

       a.     a portion of the disabled accessible parking space(s) and/or access aisles(s)

is steeper than 1:48(2%)in violation of the 2010 ADA Standards 502.4;

       b.     parking stall aisles do not adjoin an accessible route (s) due to obstructions

by shopping carts; in violation ofthe 201,0 ADA Standards, 502.3 and the 1991 ADA "Safe

Harbor" Standards, 4.6; and

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         c.    an inadequately maintained parkin2. lot with a broken, patched, littered, and

deteriorated surface on. the entrance route creating impermissible vertical threshold

changes in level in multiple places greater than 1/4 inch, in violation of 28 CFR.§ 36.211

(Maintenance of Accessible 'Features) and the 2010 ADA Standards, 206.2.1, 302.1 and

303.2.

                      POLICIES,PROCEDURES, AND PRACTICES

         22.   In addition to remediation ofthe architectural barriers above, injunctive relief

as to 'Defendants' ADA related policies, procedures and practices is required to ensure

'Defendants' facility remains ADA compliant under 42 U.S.C. § 12188(a)(2)and 28 C.F.R.

§ 36.211 and 36.501.

         13.   Defendants ADA related policies, procedures, and practices are inadequate.

         24.   The violations in this case are clear and correcting them would involve only

 minimal expense -- yet Defendants have failed to identify and correct the violations even

 though the ADA was enacted 28 years ago. This speaks clearly to the inadequacy of

'Defendants' ADA related policies, procedures and practices and underscores the

 importance of this portion of Plaintiffs claim.

         25.   Without adequate policies, practices and procedures in place, there is no

 assurance that. the accessible features in the facility will remain operable and compliant,

and no assurance that Defendants will stay abreast of their ADA.related obligations under

the law.




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         26.   The above listing is not to be considered all-inclusive of the barriers and

violations of the ADA which exist at the facility. In order to fully identify all of the

discriminatory conditions at the facility, Plaintiff requires an inspection which will be

sought in the discovery phase of this litigation.

         27.   Compliance with the ADA is required by 42 U.S.C. § 12 l 82(b)(2)(A)(iv)

because remedying the barriers identified is readily achievable due to the lack of difficulty

and low cost of -remedying the barriers. Some of the above-listed violations can be

remedied through the same measures prescribed by federal regulation as examples of

modifications that are "readily achievable." 28 C.F.R. § 36.304(b).

         28.   Compliance is also readily achievable due to the significant assistance

available to businesses. Section 44 ofthe IRS Code allows a Disabled Access tax credit

for small businesses with 30 or fewer full-time employees or with total revenues of S1

million or less, which is intended to offset the cost of undertaking barrier removal and

alterations to improve accessibility. Section 190 of the IRS Code provides a tax deduction

for businesses of all sizes for costs incurred in removing architectural barriers, up to

$15,000. See ADA Update: A Primer for Small. Business,

http://www.ada..govire gs2010/smallbus Mess/small bus-primer2010.htinkax (Mar.16,

2011).

         29.   As a person with a disability, Mr. •Widner has a personal interest in having

full and equal access to places of public accommodation and to the goods, services,

facilities, privileges, advantages or other things offered therein.

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       30.    Mr. Widner is not able to access the facility independently on a full and equal

basis and is excluded from full and equal enjoyment of the goods. services, privileges,

advantages, andior accommodations offered therein because of his disabilities and due to

the barriers to access and violations ofthe ADA that exist at Defendants' facility.

       3 1.   Mr. Widner lives near to the facility. Mr. 'Widner intends to patronize the

facility in the future, although. the unlawful barriers described herein. prevent him from

being able to do so independently and deter him from doing so. Travis Widner's condition

varies and, depending on the status of his condition on a given day, he is sometimes

dependent upon having someone take him to or accompany him when he visits places. This

limits his ability to make definitive plans to return to a place on a specific date. But he

regularly patronizes businesses in the vicinity of the facility and would return to patronize

the facility in the imminent future but for the barriers described herein.

       32.    The violations discussed above presently deter and discourage Mr.'Widner

from returning to the facility for reasons including, but not necessarily limited to, the

following: the above-referenced violations make it difficult or impossible for him to

patronize the facility unless he twists, struggles and strains himself or Obtains help from

others; and puts him at risk of injury. All of these things negatively affect Mr. Widner's

sense of independence and can lead to humiliating accidents, derisive comments,

embarrassment, a loss of dignity, and feelings of being stigmatized as different or inferior.

       33.    Mr. Widner will return and patronize the facility without hesitation when the

barriers identified herein have been removed or cured: and he will return within the next

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year in any event, albeit not independently, because it is located in an area he regularly

socializes in and because he is interested in checking on the Defendants' ADA compliance

and that of other similar businesses as a tester in hopes to thereby increase accessibility for

the disabled.

       34.      Defendants have intentionally maintained the facility in a condition that

violates the ADA for reasons including, but not limited to, the following: the A:DA. was

passed in 1990 and has been well publicized; the above-described barriers are intuitive and

obvious; ADA Title III compliance information and assistance is readily available, at no

cost (see e.g., ada.gov); Defendants exercised control over the conditions at the facility;

and 'Defendants have and continues to maintain the facility in a condition that does not

comply with the easily understandable accessibility design standards that apply here and

which can be achieved at modest expense.

       35.      Travis Widner is without adequate remedy at law, has suffered and is

suffering irreparable harm, and reasonably anticipates that he will continue to suffer

irreparable harm upon his planned return visit to the facility unless and until Defendants

are required to remove the architectural barriers to equal and independent access and ADA.

violations that exist at Defendants' place of public accommodation, including those set

forth specifically herein.

       36.      Absent injunctive relief, Defendants' unlawful conduct herein described will

continue to cause injury to Plaintiff and other disabled individuals, who will continue to be

unable to independently access the facility and/or to enjoy the goods, services, privileges,

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 advantages and/or accommodations offered therein on a full and equal basis, in violation

 of the rights ensured to the disabled by the ADA.

     FIRST CAUSE OF ACTION: VIOLATION OF TH.E AMERICAN'S WITH
                  DISABILITIES ACT,42 U.S.C. §§12101

        37.    Plaintiff incorporates and re-alleges the paragraphs above.

                         Denial of Full and Equal'Enjoyment and Use

        38.    Section. 302(a) of Title Ill of the.ADA,42 U.S.C. §§ 12101 et seq., provides

 that "No individual shall be discriminated against on the basis of disability in the full and

 equal enjoyment of the goods, services, facilities, privileges, advantages, or

 accommodations of any place of public accommodation by any person           Nvh o   owns, leases

(or leases to), or operates a place of public accommodation."

        39.   .A public accommodation under the ADA includes, inter alia, "sales

 establishments" and "a restaurant, bar, or other establishment serving food or drink." 42

        § .1218.2 (7).

        40.    Defendants have discriminated against Plaintiff and others by their failure to

 make their place of public accommodation fully accessible to persons with disabilities on

 a full, equal, and independent basis in violation of42 U.S.C. § 12182(a) and the regulations

 promulgated thereunder a.s described above.

       41.     Mr. Widner has been denied full and equal access to the facility and has been

 denied the opportunity to participate in or benefit from the goods, services, facilities,

 privileges, advantages, or accommodations on a .full and equal basis.
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              Failure to Remove Architectural Barriers in an Existing 'Facility

       42.       The.A.DA specifically prohibits the failure to remove architectural barriers in.

existing facility where such removal is readily achievable under 42 U.S.C. § 12182

(b)(2)(A)(iv) and 28 C.F.R. § 36.104.

       43.       Even when an entity can demonstrate that removal of a barrier is not readily

achievable, it must nevertheless provide for the full and equal enjoyment of the goods.

services, thcilities, privileges, advantages, or accommodations goods available through

alternative means, if alternative means are readily achievable. 42 U.S.C. § 12182

(b)(2)(A.)(v).

       44.       Plaintiff alleges that removal of the barriers at the facility is readily

 achievable.

       45.       In the alternative, to the extent the removal of any or all of the barriers at

 issue is not determined to be readily achievable. Plaintiff alleges that :Defendants violated

 the A:DA by failing to make the required goods, services, etc. equally available to the

 disabled through alternative means.

        46.      To the extent that the facility was designed and constructed for first

 occupancy after J' anuary 26, 1993, Plaintiff alleges that removal of the barriers at the

facility is not structurally impracticable under 42 U.S.C. § 12182 (b)(2)(A)(v).

        47.      To the extent that the facility was altered after January 26, 1992 (including,

 but not limited to, any remodelling, renovation, reconstruction, historic restoration, changes

 or rearrangement in structural parts or elements, and changes or rearrangements in the

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configuration of walls and •full-height partitions)'Plaintiff alleges that that the. facility is not

accessible to the disabled to the maximum extent feasible .under 42 U.S.C. § 12183 (a)(2).

                      Inadequate Policies, Procedures, and Practices

       48.      ADA Title 111 entities have an ongoing duty to review their places of public

accommodation for compliance and to remediate non-compliance as required.

       49.     Defendants' ADA related policies, procedures, and practices are inadequate.

       50.     Defendants' policies, procedures, and practices (including, but not limited to,

those ensuring the identification and remediation of prohibited barriers, maintenance of

accessible features, training and future compliance) are inadequate to ensure ongoing

compliance with the ADA and therefore must be modified accordingly.

       51.     The violations in this case are clear and correcting them would involve only

minimal expense -- yet Defendants have, failed to ideritify and correct the violations even

though the ADA was enacted 28 years ago. This speaks clearly to the inadequacy of

Defendants' ADA related policies, procedures and practices and underscores the

importance of this portion of Plaintiffs claim.

       52.     Without adequate policies, practices and procedures in place, there is no

assurance that the accessible features in the facility will remain operable and compliant,

and no assurance that Defendants will stay abreast o 'their ADA related obligations under

the law.




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       53.     Defendants have and continues to discriminate against Plaintiff and others

by their failure to adopt and implement adequate ADA related policies, procedures and

practices.

       54.     Injunctive relief as to Defendants' ADA related policies, procedures and

practices is required to ensure Defendants' facility remains ADA compliant under 42

U.S.C. § 12188(a)(2)and such other applicable legal authority.

                                Nominal Monetary Award

       55.     Plaintiff alleges a right to a nominal monetary award as equitable injunctive

relief in accordance with authority including Toyler .Bayer v, Neiman Marcus Group, Inc.,

No. 15-15287(9' Cir. 2017) and such other authority as may he applicable.

                                 Attorneys' Fees and Costs

       56.     Plaintiff has retained the undersigned counsel for the filing and prosecution

of this action, and are entitled to recover reasonable attorneys' fees; litigation expenses and

costs from Defendants, pursuant to 42 U.S.C. §§ 12205, 12117 and 28 C.F.R. § 36.505; in

connection with the prosecution of this matter.

             SECOND CAUSE OF ACTION: DECLARATORY JUDGMENT

       57.     Plaintiff incorporates and re-alleges the paragraphs above.

       58.     This cause of action is brought pursuant to 28 U.S.C. § 2201 and Fed R. Ci v.

P. 57 and/or Minn. Stat. § 555.01 et. seq. and Minn. R. Civ, Pro. 57.

       59.     Plaintiff seeks and is entitled to a judgment declaring that the Facility, as of

the date this .matter was commenced, was being operated unlawfully and in violation ofthe

                                              IS
    CASE 0:20-cv-02213-DSD-TNL Doc. 1-1 Filed 10/22/20 Page 19 of 20




ADA and its implementing regulations for reasons including, but not necessarily limited to

the unlawful denial of full and equal enjoyment of use, unlawful violations of the ADA

accessible design standards, unlawful .failure to remove architectural barriers, and unlawful

policies, practices and/or procedures identified above.

       WHEREFORE.Plaintiff respectfully requests:

       a.     That the Court issue a Declaratory Judgment determining that Defendants'

.facility, at the commencement of this instant suit, was being operated in violation of Title

HI of the ADA,42 U.S.C. § 12181, et seq., and the relevant implementing regulations.

       b.     That the Court issue a permanent injunction, pursuant to 42 U.S.C. §

12188(a)(2), 28 C.F.R.. § 36.504(a) enjoining Defendants from continuing their

discriminatory practices; including an order directing Defendants to make readily

achievable alterations to their facility so as to remove architectural barriers to access and

make their facility fully accessible to and independently usable by individuals with

disabilities to the extent required by the ADA and enjoining operation of the Facility until

such time as the alterations are completed;

       c.     That the Court issue a permanent injunction, pursuant to 42 U.S.C. §

12188(a)(2),28 C.F.R. § 36.504(a)enjoining Defendants to make reasonable modifications

in policies, practices and/or procedures necessary to ensure current and ongoing

compliance with the ADA and enjoining operation of the Facility until such time as the

modifications are made and implemented;




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       d.     That the Court award Plaintiff injunctive relief in the form of a nominal

monetary sum;

       e.     That the Court award Plaintiff his reasonable attorneys' fees, litigation

expenses, and costs of suit pursuant to 42 U.S.C. § 1.2205, 28 C.F.R.. § 36.505, or as

otherwise provided by law; and

      f.     That the Court issue such other relief as it deems just and proper, and/or is

allowable under Title III of the A.DA.

'Dated: September      2020              THRONDSET M1CHENFELDER,LLC



                                         By:
                                         Chad A. Throndset(:0261191)
                                         Patrick W. Michenfeld.er(4024207X)
                                         Cornerstone Building
                                         One Central Avenue West, Suite 101
                                         St. Michael, MN 55376
                                         Tel.:(763) 515-6110
                                         Fax:(763) 226-2515
                                         Email; pat@throndsetlaw.com
                                         Email: chadAthrondsetlaw.com
                                         Attorneysfor .Plaintiff




       The undersigned hereby acknowledges that costs, disbursement, and reasonable
attorney fees may be awarded to the opposing party or- parties pursuant to Minn. Stat. §
549.221.

                                                      -
                                                 Chad A. Pitt dset (40261191)




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